                                  IN THE UNITED STATES DISTRICT COURT
                                     EASTERN DISTRICT OF TENNESSEE
                                             AT KNOXVILLE


  GAILAND K. BREDE,                                   )
                                                      )
                          Plaintiff,                  )
                                                      )
  vs.                                                 )      No. 3:08-cv-464
                                                      )
  AMERICAN SECURITY                                   )
  INSURANCE COMPANY,                                  )
                                                      )
                              Defendant.              )



                              MOTION FOR JUDGMENT ON THE PLEADINGS


           Defendant American Security Insurance Company (“ASIC”), by and through counsel,

  and pursuant to Rule 12(c) of the Federal Rules of Civil Procedure, moves this Court for entry of

  an Order dismissing Plaintiff's Complaint against it. As grounds for this Motion, ASIC would

  show unto the Court as follows:

           1.        Plaintiff Gailand K. Brede ("Plaintiff") asserts state law claims of breach of

  contract, negligence, violation of the Tennessee Consumer Protection Act, and violation of the

  Tennessee Bad Faith Statute against ASIC. See Doc. 1 at Complaint. He asserts that ASIC has

  not paid him all proceeds that he is owed under an insurance policy covering his residence and

  personal property which were damaged in a storm in February 2008. Id.

           2.        The subject insurance policy is a Portfolio Security Policy, Control #SIF505122

  (the "Policy") which was lender-placed insurance issued to Plaintiff's lender, HFC, in order to

  protect HFC’s interest in Plaintiff's property located at 624 Buck Creek Rd., Kingston, TN

  37763. Doc. 13 at ¶ 5; see also, the Policy and Coverage Letter referenced in ¶ 6 of the


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  Counterclaim and attached as Exhibits A and B thereto. A copy of the Policy and Coverage

  Letter are also attached hereto as Exhibit 1 and incorporated herein.

           3.        Plaintiff was not a named insured under the Policy. See Exhibit 1 at BREDE

  0106.

           4.         In Tennessee, a plaintiff may not bring an action against an insurer unless the

  plaintiff has "standing to sue on the policy." RBP, L.L.C. v. Genuine Parts Co., 2005 WL

  2789057, at *2 (W.D. Tenn. 2005). Here, Plaintiff's Complaint is properly dismissed because he

  lacks standing to sue on the Policy. This lack of standing deprives this Court of subject matter

  jurisdiction, mandating dismissal of this action. Furthermore, without standing, Plaintiff's action

  should be dismissed for failure to state a claim.

           5.        In further support of this motion, ASIC relies upon the pleadings filed in this

  action and its Memorandum of Law in Support of this Motion for Judgment on the Pleadings

  which is filed contemporaneously herewith and incorporated herein by reference.

           WHEREFORE, Defendant American Security Insurance Company respectfully requests

  that this Court issue an order dismissing Plaintiff's Complaint in its entirety with prejudice.



                                                           Respectfully submitted,

                                                           /s/Ashley Meredith Lowe __           ___
                                                           S. Russell Headrick, B.P.R. No. 5750
                                                           Ashley Meredith Lowe, B.P.R. No. 20867
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on February 11, 2011, the foregoing was filed electronically. Notice
  of this filing will be sent by operation of the Court’s electronic filing system to all parties
  indicated on the electronic filing receipt. All other parties will be served by regular U.S. mail.
  Parties may access this filing through the Court’s electronic filing system.

                                                      /s/Ashley Meredith Lowe____________




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